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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


AHMAD MUAFFAQ ZAIDAN, et al.,

                Plaintiffs,

       v.                                                 Civil Action No. 17-00581 (RMC)

DONALD J. TRUMP,
President of the United States, et al.,

                Defendants.


                          JOINT PROPOSED BRIEFING SCHEDULE

       Pursuant to the Court’s Minute Order of January 7, 2019, the parties respectfully submit

this joint proposed briefing schedule with respect to the Defendants’ Motion to Dismiss filed on

January 30, 2019:

       1.       The parties propose that Plaintiffs’ opposition brief be due April 1, 2019.

       2.       The parties propose that Defendants’ reply brief be due April 25, 2019.

       The parties respectfully request that the Court enter an order setting the above schedule.

Dated: February 7, 2019                   Respectfully submitted,


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